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12                          UNITED STATES DISTRICT COURT

13                   FOR THE CENTRAL DISTRICT OF CALIFORNIA

14   UNITED STATES OF AMERICA,              No. SA CR 17-158-DOC

15            Plaintiff,                    ORDER APPROVING
                                            STIPULATION TO CONTINUE
16                  v.                      SENTENCING HEARING [20]

17   MINA KOLTA,                            [No hearing set]

18            Defendant.

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21        Based upon the parties’ stipulation, and good cause appearing,
22        IT IS HEREBY ORDERED that the sentencing hearing in this case,
23   currently set for June 4, 2018 at 7:30 a.m., is continued to
24   September 24, 2018, at 7:30 a.m.
25   Dated: April 6, 2018                   _________________________
                                            David O. Carter
26                                          United States District Judge
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